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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


KENNETH ODOM

v.                                           CASE NO. 3:13 cv 1231 (SRU)

DIVERSIFIED CONSULTANTS, INC.


                             STIPULATION FOR DISMISSAL

     Pursuant to Rule 4l(a)(l), plaintiff and defendant hereby agree and stipulate that the

within action may be dismissed with prejudice and without costs or fees to any party.

THE PLAINTIFF

By__/s/ Joanne S. Faulkner___
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THE DEFENDANT

THE SALVO LAW FIRM, PC

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